                 Case 2:12-cr-00169-TLN Document 251 Filed 05/22/14 Page 1 of 3


     DAVID D. FISCHER (SBN 224900)
 1   LAW OFFICES OF DAVID D. FISCHER, APC
     1007 7th Street, Suite 100
 2
     Sacramento, CA. 95814
 3   Tel. (916) 447-8600
     Fax (916) 930-6482
 4   E-Mail: davefischer@yahoo.com
 5
     Attorney for Defendant
 6
     NARCO MCFARLAND, SR

 7
                         IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                                 EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,                        )       No. 2:12-CR-00169 MCE
11
                                                      )
                                                      )       STIPULATION REGARDING
            Plaintiff,                                )       EXCLUDABLE TIME PERIODS UNDER
12
                                                      )       SPEEDY TRIAL ACT; FINDINGS AND
     v.                                               )       ORDER
13
                                                      )
14   NARCO MCFARLAND, SR                              )
                                                      )
                                                      )
15          Defendant.                                )
                                                      )
16
                                                      )
                                                      )
17

18
                                         STIPULATION
19          Plaintiff United States of America, by and through its counsel of record, and the
20
     defendant, by and through his counsel of record, hereby stipulate as follows:
21
            1.       By previous order, this matter was set for status on May 22, 2014, at 9:00 a.m.
22
            2.       By this stipulation, the defendant now moves to continue the status conference
23

24   until June 19, 2014, at 9:00 a.m., and to exclude time between May 22, 2014, and June 19, 2014,

25   under Local Code T4. Plaintiff does not oppose this request.
26
            3.       The parties agree and stipulate, and request that the Court find the following:
27
            a.       The government has represented that the discovery associated with this case
28




                                                          1
                 Case 2:12-cr-00169-TLN Document 251 Filed 05/22/14 Page 2 of 3


     includes approximately 2,590 pages of investigative reports and related documents in electronic
 1

 2   form and many hours of recorded telephone calls. All of this discovery has been either produced

 3   directly to counsel and/or made available for inspection and copying.
 4
            b.       Counsel for the defendant desires additional time to consult with his client, to
 5
     review the current charges, to conduct investigation and research related to the charges, to review
 6

 7
     and copy discovery for this matter, to discuss potential resolutions with his client, to prepare

 8   pretrial motions, and to otherwise prepare for trial.
 9          c.       Counsel for the defendant believes that failure to grant the above-requested
10
     continuance would deny him the reasonable time necessary for effective preparation, taking into
11
     account the exercise of due diligence.
12

13          d.       The government does not object to the continuance.

14          e.       Based on the above-stated findings, the ends of justice served by continuing the
15
     case as requested outweigh the interest of the public and the defendant in a trial within the
16
     original date prescribed by the Speedy Trial Act.
17
            f.       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,
18

19   et seq., within which trial must commence, the time period of May 22, 2014, to June 19, 2014,

20   inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]
21
     because it results from a continuance granted by the Court at defendant’s request on the basis of
22
     the Court's finding that the ends of justice served by taking such action outweigh the best interest
23

24
     of the public and the defendant in a speedy trial.

25   ///
26   ///
27
     ///
28




                                                          2
              Case 2:12-cr-00169-TLN Document 251 Filed 05/22/14 Page 3 of 3


                   4.      Nothing in this stipulation and order shall preclude a finding that other
 1

 2   provisions of the Speedy Trial Act dictate that additional time periods are excludable from the

 3   period within which a trial must commence.
 4

 5
     IT IS SO STIPULATED.
 6

 7
     Dated: May 20, 2014                                       BENJAMIN WAGNER
                                                               U.S. ATTORNEY
 8
                                                        by:    /s/ David D. Fischer for
 9                                                             JASON HITT
10
                                                               Assistant U.S. Attorney
                                                               Attorney for Plaintiff
11

12
     Dated: May 20, 2014                                       /s/ David D. Fischer
13                                                             DAVID D. FISCHER
                                                               Attorney for Defendant
14                                                             NARCO MCFARLAND SR.
15

16

17
                                                  ORDER

18

19
            IT IS SO ORDERED.

20   Dated: May 21, 2014
21

22

23

24

25

26

27

28




                                                    3
